               Case 2:15-cr-00330-GW Document 243 Filed 05/01/18 Page 1 of 5 Page ID #:1042

                                                        United States District Court
                                                        Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.            CR 15-330-GW                          JS-3

 Defendant           2. CHRISTIAN HERNANDEZ                                  Social Security No. 4         8   0   1
 akas:   Cristian Hernandez                                                  (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH    DAY   YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.       04   30    2018

  COUNSEL                                                              Andre Townsend, DFPD
                                                                            (Name of Counsel)

    PLEA             U GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             NOT
                                                                                                               CONTENDERE         GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          18 U.S.C. § 1349 CONSPIRACY TO COMMIT HEALTH CARE FRAUD as charged in the Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby placed on probation
  ORDER   for a period of: Three (3) years.


It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately. Any unpaid
balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of
Prisons' Inmate Financial Responsibility Program.

Defendant shall pay restitution in the total amount of $1,194,849 to victims as set forth in a separate victim list prepared by the
probation office which this Court adopts and which reflects the Court's determination of the amount of restitution due to each victim.
The victim list, which shall be forwarded to the fiscal section of the clerk's office, shall remain confidential to protect the privacy
interests of the victims.

The Court finds from a consideration of the record that the defendant's economic circumstances allow for restitution payments pursuant
to the following schedule: Monthly payments of at least 10% of defendant's gross monthly income, but not less than $100, whichever
is greater, shall be made during the period of probation. These payments shall begin 30 days after the commencement of supervision.

The defendant shall be held jointly and severally liable with co-participants, Oxana Loutseiko and Maria Espinosa for payment of
restitution to the extent that said co-participants are determined liable for the same victim losses ordered in this judgment. The victims'
recovery is limited to the amount of their loss and the defendant's liability for restitution ceases if and when the victims receive full
restitution.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have the ability
to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is unable to pay and
is not likely to become able to pay any fine.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Christian Hernandez, is hereby
placed on probation for a period of under the following terms and conditions:

         1.          The defendant shall comply with the rules and regulations of the United States Probation Office, General

CR-104 (wpd 10/15)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                             Page 1 of 4
               Case 2:15-cr-00330-GW Document 243 Filed 05/01/18 Page 2 of 5 Page ID #:1043

 USA vs.      2. CHRISTIAN HERNANDEZ                                           Docket No.:       CR 15-330-GW

                     Order 05-02, and General Order 01-05, including the three special conditions delineated in General Order
                     01-05.

         2.          During the period of community supervision, the defendant shall pay the special assessment and restitution
                     in accordance with this judgment's orders pertaining to such payment.

         3.          The defendant shall cooperate in the collection of a DNA sample from the defendant.

         4.          The defendant shall apply all monies received from income tax refunds to the outstanding court-ordered
                     financial obligation. In addition, the defendant shall apply all monies received from lottery winnings,
                     inheritance, judgments and any anticipated or unexpected financial gains to the outstanding court-ordered
                     financial obligation.

         5.          The defendant shall not be employed in any position that requires licensing and/or certification by any
                     local, state, or federal agency without the prior written approval of the Probation Officer.

         6.          The defendant shall perform 20 hours of community service per month, for six (6) months, as directed
                     by the Probation Officer;

The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant poses a low risk
of future substance abuse.

Defendant is advised of his rights to appeal. Bond is exonerated.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




              May 1, 2018
              Date                                                  GEORGE H. WU, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                    Clerk, U.S. District Court




              May 2, 2018                                     By    /s/ Javier Gonzalez
              Filed Date                                            Deputy Clerk



 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                               STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                While the defendant is on probation or supervised release pursuant to this judgment:




CR-104 (wpd 10/15)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                Page 2 of 4
              Case 2:15-cr-00330-GW Document 243 Filed 05/01/18 Page 3 of 5 Page ID #:1044

 USA vs.     2. CHRISTIAN HERNANDEZ                                                Docket No.:        CR 15-330-GW


 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written         activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                   unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the    11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete             time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                        contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation      12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                   being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other          13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                        or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                of the court;
       excused by the probation officer for schooling, training, or other        14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                             parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior         record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                       probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not         defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other   15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,          to the probation officer within 72 hours;
       except as prescribed by a physician;                                      16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances             or any other dangerous weapon.
       are illegally sold, used, distributed or administered;




CR-104 (wpd 10/15)                                   JUDGMENT & PROBATION/COMMITMENT ORDER                                                             Page 3 of 4
              Case 2:15-cr-00330-GW Document 243 Filed 05/01/18 Page 4 of 5 Page ID #:1045

 USA vs.     2. CHRISTIAN HERNANDEZ                                              Docket No.:      CR 15-330-GW


             The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).


                 STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                     1. Special assessments pursuant to 18 U.S.C. §3013;
                     2. Restitution, in this sequence (pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                     5. Other penalties and costs.

                               SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (wpd 10/15)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                        Page 4 of 4
              Case 2:15-cr-00330-GW Document 243 Filed 05/01/18 Page 5 of 5 Page ID #:1046


                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




CR-104 (wpd 10/15)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 4
